23 F.3d 402NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Ronald E. PERRY, Plaintiff Appellant,v.CABLE &amp; WIRELESS COMMUNICATIONS, INCORPORATED, Defendant Appellee.
    No. 93-2072.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 21, 1994.Decided May 5, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.
      Ronald E. Perry, appellant pro se.
      Steven William Ray, Kruchko &amp; Fries, McLean, Virginia, for appellee.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, MICHAEL, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders granting summary judgment in favor of Defendant and denying Appellant's motion for reconsideration.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Perry v. Cable &amp; Wireless Communications, Inc., No. CA-93-298-A (E.D. Va.  July 23, 1993;  July 30, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    